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                   17
                                                   UNITED STATES DISTRICT COURT
                   18
                                                NORTHERN DISTRICT OF CALIFORNIA
                   19
                                                        SAN FRANCISCO DIVISION
                   20
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   21
                           Individual and Representative Plaintiffs,    UNOPPOSED ADMINISTRATIVE MOTION TO
                   22                                                   FILE UNDER SEAL PORTIONS OF JOINT
                               v.                                       LETTER BRIEFS AND SUPPORTING
                   23                                                   EVIDENCE (DKTS. 334, 335, & 336)
                        META PLATFORMS, INC., a Delaware
                   24   corporation;
                   25                                   Defendant.
                   26

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                                                                                            ADMIN. MOTION TO SEAL
                                                                                             3:23-CV-03417-VC-TSH
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                    1          Pursuant to Civil Local Rule 79-5, Defendant Meta Platforms, Inc. (“Meta”) moves this

                    2   Court for an Order allowing Meta to file under seal confidential, unredacted versions of the Joint

                    3   Letter Brief Regarding Mitigation Privilege (“Privilege Joint Letter Brief”), the Joint Letter Brief

                    4   Regarding Sy Choudhury’s Deposition (“Choudhury Joint Letter Brief”), and the Joint Letter Brief

                    5   Regarding 30(b)(6) Preparation (“30(b)(6) Joint Letter Brief”) (collectively, the “Joint Letter

                    6   Briefs”) and certain supporting evidence submitted with the Joint Letter Briefs. Meta respectfully

                    7   submits that good cause exists for the filing of these materials under seal. The motion is based on

                    8   the following Memorandum of Points and Authorities and the Declaration of Kyanna Sabanoglu in

                    9   support of this Unopposed Administrative Motion to File Under Seal.

                   10          The following chart lists the documents for which Meta requests sealing – in whole or in

                   11   part – in order to protect Meta’s confidential business information.

                   12
                         Document                                                       Sealing Request
                   13
                         Choudhury Joint Letter Brief (Dkt. 334)                                  Redacted portions
                   14
                         Exhibit A to the Choudhury Joint Letter Brief (Dkt. 334-1)               Entire document
                   15
                         Exhibit B to the Choudhury Joint Letter Brief (Dkt. 334-2)               Entire document
                   16
                         Exhibit 1 to the Choudhury Joint Letter Brief (Dkt. 334-4)               Entire document
                   17
                         Exhibit 2 to the Choudhury Joint Letter Brief (Dkt. 334-5)               Entire document
                   18

                   19
                         Exhibit 3 to the Choudhury Joint Letter Brief (Dkt. 334-6)               Entire document

                   20
                         Declaration of Sy Choudhury In Support of Choudhury                      Redacted portions
                         Joint Letter Brief (“Choudhury Declaration”) (Dkt. 334-8)
                   21
                         Declaration of Mo Metanat In Support of Choudhury Joint                  Redacted portions
                   22    Letter Brief (“Metanat Declaration”) (Dkt. 334-9)

                   23

                   24    30(b)(6) Joint Letter Brief (Dkt. 335)                                   Redacted portions

                   25    Exhibit A to 30(b)(6) Joint Letter Brief (Dkt. 335-1)                    Entire document

                   26    Exhibit B to 30(b)(6) Joint Letter Brief (Dkt. 335-2)                    Entire document

                   27    Exhibit C to 30(b)(6) Joint Letter Brief (Dkt. 335-3)                    Entire document
                   28    Exhibit F to 30(b)(6) Joint Letter Brief (Dkt. 335-6)                    Entire document
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                    1
                         Exhibit H to 30(b)(6) Joint Letter Brief (Dkt. 335-8)                 Entire document
                    2
                         Exhibit I to 30(b)(6) Joint Letter Brief (Dkt. 335-9)                 Entire document
                    3

                    4
                         Privilege Joint Letter Brief (Dkt. 336)                               Redacted portions
                    5
                         Exhibit A to Privilege Joint Letter Brief (Dkt. 336-1)                Redacted portions
                    6
                         Exhibit B to Privilege Joint Letter Brief (Dkt. 336-2)                Entire document
                    7
                         Exhibit D to Privilege Joint Letter Brief (Dkt. 336-4)                Entire document
                    8
                         Exhibit E to Privilege Joint Letter Brief (Dkt. 336-5)                Entire document
                    9
                        A [Proposed] Order is filed concurrently herewith, and Meta refers the Court to the Joint Letter
                   10
                        Briefs themselves and supporting evidence attached thereto as further support for this Unopposed
                   11
                        Administrative Motion.
                   12
                        I.     LEGAL ARGUMENT
                   13
                               Though the presumption of public access to judicial proceedings and records is strong, it
                   14
                        “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (1978). The Ninth Circuit
                   15
                        treats documents “attached to dispositive motions differently from records [i.e., documents]
                   16
                        attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                   17
                        (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                   18
                        non-dispositive motions, such as the Parties’ Joint Letter Briefs, the “good cause” standard applies.
                   19
                        OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);
                   20
                        Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in
                   21
                        discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the
                   22
                        interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-
                   23
                        05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963
                   24
                        (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).
                   25
                               Portions of the Joint Letter Briefs and corresponding supporting evidence contain Meta’s
                   26
                        confidential information, for which Meta requests sealing.
                   27

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                    1          The redacted portions of the Choudhury Joint Letter Brief contain significant discussion

                    2   and descriptions, including quotes from deposition transcripts of Meta employees, of Meta’s highly

                    3   confidential business strategies and business decisions relating to its generative AI models. The

                    4   Choudhury Declaration and Metanat Declaration similarly discuss these highly confidential

                    5   business strategies and decisions, as to Exhibits A, B, 1, 2, and 5 to the Choudhury Joint Letter

                    6   Brief, which are excerpts from depositions of Meta employees, marked “Highly Confidential –

                    7   Attorneys’ Eyes Only.”

                    8          Exhibits A, B, C, F, H, and I to the 30(b)(6) Joint Letter are excerpts from depositions of

                    9   Meta employees, marked “Highly Confidential – Attorneys’ Eyes Only.” These excerpts discuss

                   10   highly confidential information relating to the datasets used to train Meta’s AI models and Meta’s

                   11   use of those datasets. The portions of the 30(b)(6) Joint Letter Brief Meta seeks to redact contain

                   12   significant discussion of and descriptions, including quotes, of these deposition transcripts of Meta

                   13   employees.

                   14          The redacted portions of the Privilege Joint Letter Brief discuss Meta’s highly sensitive,

                   15   confidential practices and processes surrounding its Llama models and the datasets used to train

                   16   the Llama models. The redacted portions of Exhibit A to the Privilege Joint Letter Brief is Meta’s

                   17   response to Plaintiffs’ Interrogatory No. 1, which includes detailed technical discussion concerning

                   18   Meta’s generative AI models and the data used to train them. Exhibits B, D, and E to the Privilege

                   19   Joint Letter Brief are excerpts from depositions of Meta employees, marked “Highly Confidential

                   20   – Attorneys’ Eyes Only,” discussing these highly sensitive, confidential practices and processes.

                   21          Meta must request sealing of these materials, as this information is highly confidential, and

                   22   Meta takes steps to carefully protect the confidentiality of information of this sort as disclosure has

                   23   the potential to cause significant competitive injury to Meta.         See, e.g., Krieger v. Atheros

                   24   Commc’ns, Inc., No. 11-CV-640-LHK, 2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011) (finding

                   25   information regarding party’s “long-term financial projections, discussions of business strategy,

                   26   and competitive analyses” sealable); Space Data Corp. v. Alphabet Inc., No. 16-CV-03260-BLF,

                   27   2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding information regarding party’s

                   28   confidential and proprietary technical information, and sensitive financial information sealable).
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                    1   These sealing requests are critical to protect Meta’s confidential sensitive technical and competitive

                    2   information.

                    3          The specific basis for sealing these materials is outlined in the accompanying declaration

                    4   of Meta’s Associate General Counsel, Kyanna Sabanoglu. As outlined in Ms. Sabanoglu’s

                    5   declaration, public disclosure of the protected information contained in the materials Meta seeks to

                    6   seal would cause competitive harm to Meta. Meta’s proposed redactions are narrowly tailored to

                    7   include only that information which would cause specific, articulable harm, as identified in Ms.

                    8   Sabanoglu’s declaration. In each instance, the harm to Meta outweighs the public’s interest in

                    9   disclosure. See, e.g., In re iPhone App. Litig., No. 11-md-02250-LHK, 2013 WL 12335013, at *2

                   10   (N.D. Cal. Nov. 25, 2013) (granting motion to seal where the defendant’s interest in “maintaining

                   11   the confidentiality of information about its technology and internal business operations”

                   12   outweighed that of the public in accessing such documents). To the extent the materials Meta seeks

                   13   to seal include non-confidential background information, sealing of such information within the

                   14   context of Meta’s Opposition and proposed amended complaint is necessary to maintain the

                   15   confidentiality of Meta’s protected information, as the discussion necessarily implies conduct by

                   16   Meta which is highly sensitive, non-public, and which Meta has taken steps to keep confidential.

                   17   Accordingly, this sealing request is critical to protecting Meta’s confidential sensitive technical and

                   18   competitive information.

                   19   II.    CONCLUSION
                   20          Pursuant to Civil Local Rule 79-5, as appropriate, redacted and unredacted versions of the

                   21   above-listed document accompany this Administrative Motion. For the foregoing reasons, Meta

                   22   respectfully requests that the Court grant the Administrative Motion to Seal.

                   23

                   24

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                    1   Dated: December 12, 2024                             COOLEY LLP

                    2

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